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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY


  KENNETH M. KRYS, MARGOT               HONORABLE JEROME B. SIMANDLE
  MACINNIS, and THE HARBOUR
  TRUST CO. LTD.,
                                                 Civil Action
                   Plaintiffs,              No. 14-2098 (JBS/AMD)
       v.

  ROBERT AARON, DERIVATIVE
  PORTFOLIO MANAGEMENT LLC, DPM-              MEMORANDUM OPINION
  MELLON, LLC, DERIVATIVE
  PORTFOLIO MANAGEMENT, LTD.,
  DPM-MELLON, LTD, and BANK OF
  NEW YORK MELLON CORPORATION,

                   Defendants.


 SIMANDLE, Chief Judge:

      In this lengthy multi-district securities litigation, the

 parties filed 29 in limine motions.        By Orders dated May 26,

 2015, June 16, 2015, and June 18, 2015 [Docket Items 697, 698,

 721, & 725], the Court addressed 26 of the parties’ motions.              On

 the oral argument records on June 15, 2015 and June 17, 2015,

 however, the Court reserved decision with respect to three

 motions.   This Memorandum Opinion addresses those reserved

 motions, and specifically concerns:

      1. Defendants’ motion in limine to exclude references to
         whether Defendant Robert Aaron violated the Irish Stock
         Exchange Rules [see Docket Item 598];
      2. Defendants’ motion in limine to exclude introduction of
         and references to auditing problems unrelated to SMFF
         [see Docket Item 603]; and
      3. Plaintiffs’ motion in limine to preclude Defendants from
         introducing a May 17, 2006 letter from the Northeast
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              Regional Office of the Securities and Exchange Commission
              to Christopher Sugrue, the Chairman of PlusFunds [see
              Docket Item 616].
         For the reasons that follow, Defendants’ motion to exclude

 references to violations of the Irish Stock Exchange Rules will

 be granted in part and denied without prejudice in part, and

 their motion to exclude evidence concerning auditing problems

 unrelated to SMFF will be granted in its entirety.             Plaintiffs’

 motion to preclude Defendants from introducing the May 17, 2006

 letter will be granted in part and denied without prejudice in

 part.    The Court finds as follows:1

         1.     The Court first address Defendants’ motion to exclude

 references to Defendants’ alleged violations of the Irish Stock

 Exchange listing requirements.       The various SPhinX offering

 memoranda disclosed, on their face, SPhinX’s listing on the

 Irish Stock Exchange, and instructed, in relevant part, that

 SPhinX would adhere to the “Listing Requirements and Procedures”

 of the Irish Stock Exchange for as long as the SPhinX shares

 remained so listed.       [See Docket Item 675-4 at i, 22 (Offering


 1 In connection with the pending motions, the Court presumes
 familiarity with the factual and legal underpinnings of this
 lengthy litigation. For a more detailed discussion of the
 factual predicate and procedural history of this action, the
 Court refers any interested readers to the Court’s prior
 Opinions: Krys v. Aaron, ___ F. Supp. 3d ____, No. 14-2098, 2015
 WL 3660332 (D.N.J. June 12, 2015); Krys, No. 14-2098, 2015 WL
 3452324 (D.N.J. May 29, 2015); Krys, ___ F. Supp. 3d ____, No.
 14-2098, 2015 WL 2453720 (D.N.J. May 22, 2015); Krys, ___ F.
 Supp. 3d ____, No. 14-2098, 2015 WL 2412448 (D.N.J. May 20,
 2015).
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 Memorandum dated July 12, 2002); Docket Item 675-5 at i, 22

 (Offering Memorandum dated May 2004).]

      2.    As relevant here, those investments restrictions

 required that “no more than 20% of the value of the gross

 assets” of each SPhinX portfolio could “be lent to or invested

 in the securities of any one issuer” or could “be exposed to the

 creditworthiness or solvency of any one counterparty.”             [Docket

 Item 675-4 at 22; Docket Item 675-5 at 22.]          In other words, the

 Listing Requirements required segregation and imposed an

 obligation upon SPhinX’s directors to confirm and assure that

 its assets remained segregated.      As a result, Mr. Aaron

 confirmed in a letter dated June 25, 2002 to the Irish Stock

 Exchange (among other entities) that he had reviewed the

 Offering Memorandum, the “Continuing Obligations of the Irish

 Stock Exchange,” and that he had “ensure[d] compliance” with

 these obligations.    [Docket Item 675-2 at 1-2.]

      3.    In moving to exclude any reference to Defendants’

 alleged violation of the Irish Stock Exchange requirements,

 Defendants argue that any such reference would interject an

 irrelevant body of law into this litigation, and would create a

 danger that references to “‘breaches’” or “‘violations’” of the

 Irish Stock Exchange rules might mislead the jury into

 concluding that Defendants necessarily committed the breaches

 alleged by Plaintiffs.      [Docket Item 598-1 at 2-4.]        Plaintiffs,

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 however, take the position that any reference to these issues

 would not serve to interject Irish law, but would instead be

 used as an example of Mr. Aaron’s “false representations”

 concerning “the accuracy of SPhinX financial statements, the

 protections afforded SPhinX assets administered by DPM, and the

 compliance with the requirements of the SPhinX Offering

 Memorandum.”    [Docket Item 675 at 1-2, 6-7.]

      4.    Evidence of Mr. Aaron’s representations concerning

 SPhinX’s compliance with segregation requirements have a clear

 tendency to make a fact of consequence in this action “more or

 less probable,” particularly to the extent that a

 misrepresentation of fact constitutes an element of Plaintiffs’

 fraud claim against Mr. Aaron.      FED. R. EVID. 401(a)-(b).        Indeed,

 Defendants do not challenge the introduction of these

 representations on relevance grounds.2        Rather, Defendants

 challenge the representations on the grounds that their

 connection to violations of the Irish Stock Exchange rules may

 prejudice, confuse, and/or mislead the jury.          [See generally


 2 On the oral argument record on June 15, 2015, counsel for
 Plaintiffs confirmed that Plaintiffs only intend to rely upon
 the rules of the Irish Stock Exchange, to the extent sections
 2.35 and 2.52 of the Listing Requirements required the directors
 of SPhinX to segregate its assets, and to prevent those assets
 from being exposed “to the creditworthiness or solvency of any
 one counterparty (including that counterparty’s subsidiaries or
 affiliates).” [Docket Item 675-3.] Plaintiffs, do not, however
 seek to introduce the remaining 100+ pages of the Listing
 Requirements.
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 Docket Item 598.]    Despite the relevance, the Court will not

 ignore that arguments or references to violations or breaches of

 the rules applicable to SPhinX’s listing on the Irish Stock

 Exchange may confuse the jury’s understanding of the violations

 and/or breaches actually alleged in this litigation.            Labeling

 these requirements as violating Irish law would tend to cause

 the jury to believe that such a violation is actionable in this

 case, when there is no cause of action for breach of Irish law.

 Even more, these references may lead the jury to unfairly

 presume that Defendants’ alleged violations of Irish law

 necessarily implies that Defendants breached or violates their

 obligations under the Offering Memorandum, Service Agreement,

 and applicable law.     For these reasons, the Court will not

 permit Plaintiffs to argue that Defendants’ breached and/or

 violated the rules of the Irish Stock Exchange, because the

 danger of confusion and unfair prejudice substantially outweigh

 the probative value of those references.         See FED. R. EVID. 403.

 The Court will also preclude Plaintiffs from introducing any

 portion of the Listing Requirements and Procedures of the Irish

 Stock Exchange other than sections 2.35 and 2.52.            The Court

 will, however, permit Plaintiffs to rely upon these limited

 sections of the Listing Requirements, in support of their claim

 that Defendants, and specifically Mr. Aaron, made a

 misrepresentation of fact concerning the segregation of SMFF’s

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 excess cash.3    These provisions 2.35 and 2.52 are probative of

 the materiality of the promise that such funds would be

 segregated and not exposed to the creditworthiness of the

 custodian of these funds.      The Court will consider a limiting

 instruction to the jury, if requested by either party,

 concerning the purposes for which this evidence may be

 considered by the jury to avoid confusion or undue prejudice.

         5.   The Court turns to Defendants’ motion to exclude the

 introduction of evidence concerning auditing problems unrelated

 to SMFF.     SPhinX operated a family of 70 investment funds to

 provide investors with a platform for tracking the Standard &

 Poor’s Hedge Fund Index.      (See Joint Final Pretrial Order at 4.)

 This action, however, only concerns Defendants’ alleged breaches

 of their various fiduciary and contractual auditing and

 accounting obligations with respect to one of the SPhinX funds,

 SMFF.    (See generally id.)    Plaintiffs allege, in particular,

 that Defendants facilitated the unauthorized movement of SMFF’s

 excess cash into unsegregated accounts with Refco and failed to

 take certain corrective steps in the face of Refco’s potential

 insolvency.     (See generally id.)

 3 Defendants argue that Plaintiffs’ reliance upon these
 representations would be cumulative. [See Docket Item 598-1 at
 3-4.] The Court does not find this evidence to be cumulative
 because it is not redundant; it is reinforcing of the parties’
 understanding of segregation of funds arising from the
 restrictions in the various SPhinX offering memoranda concerning
 segregation.
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      6.    As a result, in their motion to exclude evidence of

 non-SMFF auditing problems, Defendants argue that “documentation

 and testimony related to accounting and auditing-related

 breaches with respect to the other SPhinX Funds” should be

 excluded as irrelevant, prejudicial, and likely to confuse.

 [Docket Item 603-1 at 1, 8-9.]      Plaintiffs, however, take the

 position that the “intertwined and highly interdependent”

 structure of SPhinX funds left SMFF necessarily “affected by the

 accounting and auditing problems” at other SPhinX funds.

 [Docket Item 688 at 7-8.]

      7.    The Court notes that the MDL District Court squarely

 decided this issue over 5 years ago.4       [See Docket Item 603.]

 Indeed, in a February 3, 2010 Report and Recommendation on

 Defendants’ motion to dismiss and the “omnibus” issue of

 standing, the Special Master noted that the segregation of

 SMFF’s excess cash and its protection from any losses at Refco

 formed the “gravamen” of Plaintiffs’ complaint.             [Docket Item

 720-1 at 17.]    The Special Master further noted that, in making

 these allegations, Plaintiffs referred “to the SPhinX ‘family of

 hedge funds.’”    [Id. (citation omitted).]       Nevertheless, he

 concluded that “SMFF – and only SMFF – [] opened the account and

 deposited the funds at issue with Refco LLC,” and therefore

 4 Following oral argument on June 15, 2015, counsel for
 Defendants submitted the MDL District Court’s decision by letter
 dated June 16, 2015. [See Docket Item 720.]
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 found that “only SMFF” had “the asserted right to segregation

 from the ills at Refco,” not the SPhinX “‘family’ of hedge

 funds.”5    [Id. (citation omitted).]      For these reasons, the

 Special Master recommended that the claims brought by the SPhinX

 funds other than SMFF be dismissed with prejudice for lack of

 standing.    [Id. at 18.]   On March 31, 2010, the MDL District

 Court then adopted the Special Master’s Report and

 Recommendation, and specifically “dismissed with prejudice” all

 counts that “purport to bring claims on behalf of SPhinX

 investors and any SPhinX fund other than SPhinX Managed Futures

 Fund.”     [Docket Item 720-2 at 2.]

      8.      That determination remains the law of the case.

 Plaintiffs do not appear to have challenged that ruling before

 the MDL District Court, nor have they identified any basis for

 this Court to depart from the MDL District Court’s Order.              See

 In re Pharmacy Benefit Mgrs. Antitrust Litig., 582 F.3d 432, 441

 (3d Cir. 2009) (generally noting that “a ‘Return to Go’ card

 [should not] be dealt to parties involved in MDL transfers,”

 absent extraordinary circumstances); Hayman Cash Register Co. v.

 Sarokin, 669 F.2d 162, 169 (3d Cir. 1982) (“A disappointed

 litigant should not be given a second opportunity to litigate a

 5 In so finding, the Special Master considered, and specifically
 rejected, Plaintiffs’ position concerning the structure of the
 SPhinX family of funds, an argument Plaintiffs have reasserted
 in connection with the pending in limine motion. [Compare
 Docket Item 720-1 at 17, with Docket Item 688 at 6-7.]
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 matter that has been fully considered by a court of coordinate

 jurisdiction, absent unusual circumstances.”).

      9.    Moreover, because the MDL District Court dismissed

 claims related to SPhinX funds other than SMFF with prejudice,

 this Court cannot conclude that accounting and auditing problems

 unrelated to SMFF have any tendency to make a fact of

 consequence in this action “more or less probable.”              FED. R. EVID.

 401(a)-(b).   In addition, these unrelated accounting and

 auditing problems may mislead and confuse the jury and unfairly

 prejudice Defendants, while consuming undue time compared with

 the probative value, because their introduction might lead the

 jury to impugn the propriety of Defendants’ actions with respect

 to SMFF as a result of their conduct with respect to other

 SPhinX funds.    Relatedly, the jury might misunderstand the

 impact of these unrelated problems (or lack thereof) on the SMFF

 issues actually implicated in this litigation.              The Court

 therefore finds any probative value associated with this

 evidence outweighed by the danger of unfair prejudice and

 confusion and undue consumption of time.         See FED. R. EVID. 403.

 Defendants’ motion will, accordingly, be granted, and Plaintiffs

 will be precluded from introducing accounting and auditing

 problems regarding any SPhinX fund other than SMFF.              Plaintiffs,

 however, remain free to introduce evidence concerning

 Defendants’ alleged accounting and auditing errors in its

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 administration of SMFF, as those issues remain relevant to the

 claims in this action.

       10.   The Court next addresses Plaintiffs’ motion to exclude

 a May 17, 2006 letter from the Assistant Regional Director of

 the Securities and Exchange Commission (hereinafter, the “SEC”),

 Dawn M. Blankenship, to Christopher Sugrue, the former Chairman

 of PlusFunds.    [See Docket Item 616.]      Following Refco’s

 collapse, the SEC conducted an investigation into PlusFunds.               In

 connection with that investigation, the Northeast Regional

 Office of the SEC conducted an examination of PlusFunds’ “books

 and records” pursuant to section 204 of the Investment Advisers

 Act of 1940. [Docket Item 616-2 at 1.]         By letter dated May 17,

 2006, Ms. Blankenship set forth the information “revealed”

 during that examination, and specifically discussed issues

 regarding “Conflicts of Interest,” the “Safety of Client Funds,”

 “Personal Trading,” and “Internal Disclosures.”             [Id. at 1-18.]

 As particularly relevant here, the letter also addressed the

 sweeps of SMFF’s excess cash from segregated accounts at Refco,

 LLC to unsegregated accounts at Refco Capital Markets, Ltd.

 [See id. at 9-16.]     In doing so, the letter stated that the

 Regional Office’s examination “revealed” that various operations

 staff of PlusFunds knew that SMFF’s excess cash had been swept

 to unregulated accounts at RCM, and that these individuals

 failed to disclose that fact to investors.          [See id. at 11-12.]

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       11.   In moving to exclude the letter, Plaintiffs argue that

 the substantive contents of the letter amount to inadmissible

 hearsay, because the informal report followed an “initial” and

 “partial” investigation, and therefore lacks the finality and

 trustworthiness required for purposes of Federal Rule of

 Evidence 803(8).     [Docket Item 616-4 at 2-8.]        Defendants

 counter, however, that “the nature of the investigation

 conducted by the SEC” in connection with the letter, namely, the

 thorough “review of PlusFunds’ books and records and independent

 witness interviews,” meets the threshold requirements for

 admissibility under Rule 803(8).6        [Docket Item 672 at 8-10.]

       12.   Federal Rule of Evidence 803(8) permits the

 introduction of an otherwise inadmissible “record or statement”

 of a public agency, if it sets out “factual findings from a

 legally authorized investigation” and “the opponent does not

 show that the source of information or other circumstances

 indicate a lack of trustworthiness.”        FED. R. EVID.

 803(8)(A)(iii), (B).

       13.   Critically, however, courts routinely exclude

 preliminary or interim government documents, on the basis that


 6 In opposition to Plaintiffs’ in limine motion, Defendants
 assert that they “do not intend to rely on all twenty pages of
 the SEC letter.” [Docket Item 672 at 2.] Rather, Defendants
 only seek to introduce the portion of the letter that concerns
 the “Safety of Client Assets” and specifically reference SMFF’s
 excess cash.
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 such reports fail to constitute “factual findings” and lack

 adequate indicia of trustworthiness.        See, e.g., Smith v. Isuzu

 Motors Ltd., 137 F.3d 859, 862 (5th Cir. 1998) (“[I]nterim

 agency reports or preliminary memoranda do not satisfy Rule

 803(8)(C)’s requirements.”); Plemer v. Parsons–Gilbane, 713 F.2d

 1127, 1140 (5th Cir. 1983) (noting that if administrative report

 is not final, it “may be considered untrustworthy” under

 803(8)(C)); City of New York v. Pullman Inc., 662 F.2d 910, 914

 (2d Cir. 1981) (concluding that an interim staff report does not

 fall under the Rule 803(8) exception); Toole v. McClintock, 999

 F.2d 1430, 1434-35 (11th Cir. 1993) excluding FDA report which

 contained proposed findings and invited public comment and

 forecasted issuance of final document after more study); Appleby

 v. Glaxo Wellcome, Inc., No. Civ. 04-0062, 2005 WL 3440440, at

 *3 (D.N.J. Dec. 13, 2005) (noting that the presumption in Rule

 803(8) “typically does not apply to render hearsay admissible

 where the findings are merely proposed, tentative, or ‘second-

 hand’”) (citation omitted).

       14.   Here, the SEC letter states, on its face, that it is

 based upon the staff’s continued “examination” of PlusFunds and

 does not qualify as “findings” of the SEC.7          [Docket Item 616-2


 7 To the contrary, the Northeast Regional Office carefully
 couched the statements in its letter as “revelations” based upon
 staff review, and not as “findings,” preliminary or otherwise.
 [Docket Item 616-2.]
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 at 19.]       Rather, the letter served, by its own terms, to bring

 certain “deficiencies and/or violations of law” to PlusFunds’

 attention.      [Id.]   Importantly, the letter solicited PlusFunds’

 response, and specifically requested that PlusFunds “inform” the

 Regional Office of any corrective measures that it intended to

 implement as a result of notations contained within the letter.

 [Id.]    Furthermore, the letter attached a laundry list of the

 Regional Office’s 15 “Outstanding Requests” for documentation

 from PlusFunds concerning a wide array of information relative

 to PlusFunds’ and SMFF’s administration, and their transactions

 with RCM and other entities.      [Docket Item 616-2.]

         15.    As a result, the letter makes plain that it did not

 embody the final findings of even the Northeast Regional Office

 (much less the SEC), but instead presented the tentative

 impressions of the Regional Office’s incomplete and ongoing

 staff investigation, as to which comments were invited.              Indeed,

 given the volume of the outstanding documentation, the Court

 must assume that the Regional Office intended to issue an

 additional letter in order to augment and/or finalize the

 “revelations” disclosed in its May 17, 2006 letter.             It is also

 significant that, although the letter certainly included broad

 conclusory language that might prove advantageous to Defendants

 at trial, the letter expressly declined to make any ultimate

 findings on the segregation issues implicated in this

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 litigation.    Rather, Ms. Blankenship couched her statements as

 “revelations” based upon the reviewed documentation, and

 concluded, in relevant part, that PlusFunds “may not have

 properly safeguarded investor funds and in doing so, may have

 violated its fiduciary duty to its client.”          [Id. at 16.]      For

 these reasons, the Court finds that the letter does not

 constitute the SEC’s “findings” and is not sufficiently

 trustworthy under Rule 803(8).8      FED. R. EVID. 803(8); see also In

 re Cessna 208 Series Aircraft Prods. Liab. Litig., MDL No. 1721

 2009 WL 2780223, *3-*4 (D. Kan. Sept. 1, 2009) (finding a

 preliminary agency report “subject to revision and further

 review” insufficient to meet the requirements of Rule 803(8)).


 8 Abrams v. Van Kampen Funds, Inc., No. 01-7538, 2005 WL 88973
 (N.D. Ill. Jan. 13, 2005) compels no different conclusion. In
 Abrams, the district court considered the admissibility of
 various letters between the “Midwest Regional Office of the SEC”
 and the defendant under Rule 803(8). Id. at *18-*19. As noted
 by Defendants, the Abrams court indeed found such letters
 admissible under Rule 803(8). In so finding, however, the Abrams
 court reviewed a cascade of letters between the Midwest Regional
 Office and the defendant, with the final letters appearing to
 amount to the Midwest Regional Office’s final determinations
 based upon its lengthy examinations. Id. at *18. Here, however,
 the Northeast Regional Office appears to have issued only a
 single letter, in which the Northeast Regional Office
 acknowledges that the examination remains ongoing and delineates
 a series of outstanding requests relative to its continued
 examination into PlusFunds’ affairs. [See generally Docket Item
 616-2.] This fact alone casts doubt upon the persuasiveness of
 Abrams in relation to Plaintiffs’ pending in limine motion.
 Beyond this distinguishing feature, however, an unpublished
 decision from another district does not constitute binding
 authority on this Court, and the Court does not find Abrams
 persuasive under the specific circumstances of this action.
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 Plaintiffs’ motion will, accordingly, be granted to the extent

 it seeks to preclude Defendants from introducing the SEC letter

 under Rule 803(8), but denied without prejudice to the extent it

 seeks to bar Defendants from introducing the letter for non-

 hearsay purposes.9

       16.   An accompanying Order will be entered.




  June 22, 2015                              s/ Jerome B. Simandle
 Date                                       JEROME B. SIMANDLE
                                            Chief U.S. District Judge




 9 In its opposition, Defendants state that the letter may be used
 in “numerous ways” that do not implicate hearsay and the
 exceptions to the rule against hearsay. [Docket Item 672 at 3-
 4.] These alternative uses include using the letter as:
 “evidence [of] the fact that the SEC investigated PlusFunds,
 irrespective of the substantive contents thereof; or as []
 extrinsic evidence of a prior inconsistent statements” under
 Federal Rule of Evidence 613(b). Resolution of these issues,
 however, would be premature, because “the context of trial” may
 provide clarify. Ebenhoech v. Koppers Indus., Inc., 239 F. Supp.
 2d 455, 461 (D.N.J. 2002) (noting that rulings on motions in
 limine “should not be made prematurely if the context of trial
 would provide clarity”); Sperling v. Hoffmann–La Roche, Inc.,
 924 F. Supp. 1396, 1413 (D.N.J. 1996) (“[I]t is difficult to
 rule on the admissibility of pieces of evidence prior to trial.
 It is often useful to wait to see how the trial unfolds.”).
 Plaintiffs’ motion in this respect will, accordingly, be denied
 without prejudice to renewal in the event Defendants intend to
 use the letter for non-hearsay purposes.
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